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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
                                                        Case No. 06-20465
            Plaintiff,
                                                        Honorable Nancy G. Edmunds
  v.

  JOHNNY JARRELL,

            Defendant.
                                            /

       ORDER DENYING AS MOOT DEFENDANT’S MOTION FOR MODIFICATION OF
               SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2) [2740]

         This matter comes before the Court on Defendant Johnny Jarrell’s motion for

  modification of sentence pursuant to 18 U.S.C. § 3582(c)(2). Being fully advised in the

  premises and because the Court has already denied a motion for sentence reduction

  pursuant to 18 U.S.C. § 3582(c)(2), Defendant’s motion is DENIED as moot.

         Defendant was found guilty of two counts of the second superceding indictment:

  Count 2, Conspiracy to Participate in the Affairs of an Interstate Enterprise Through a

  Pattern of Racketeering Activity; and Count 19, Conspiracy to Possess With Intent to

  Distribute and Distribution of Controlled Substances. On May 15, 2014, after remand from

  the Sixth Circuit, Defendant was re-sentenced to 108 months on Count 2 and 60 months

  on Count 19, to be served concurrently.

         Defendant filed the present motion for modification of sentence pursuant to 18 U.S.C.

  § 3582(c)(2), arguing that his sentence should be reduced pursuant to Amendment 782 to

  the United States Sentencing Guidelines, which reduced the drug quantity table by two

  points for all offenders. The Court, however, already considered on its own motion whether
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  a sentence reduction under Amendment 782 was appropriate here. Having determined that

  Defendant was ineligible for a sentence reduction, the Court issued an order denying a

  reduction of Defendant’s sentence on September 29, 2015. (Dkt. 2732.) Under the United

  States Sentencing Guidelines, § 1B1.10(b)(2)(A), the Court “shall not reduce the

  defendant’s term of imprisonment ... to a term that is less than the minimum of the

  amended guideline range.” Here, the sentence imposed by the Court on Count 19 (the

  narcotics count) is below the amended guideline range. Although § 1B1.10(b)(2)B)

  recognizes an exception to this rule, the exception does not apply.1 Therefore, as this Court

  previously determined, Defendant is ineligible for a reduction in sentence.

          Being fully advised in the premises and for the above-stated reasons, Defendant’s

  motion is DENIED as moot.

          SO ORDERED.

                        S/Nancy G. Edmunds
                        Nancy G. Edmunds
                        United States District Judge

  Dated: August 16, 2016

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on August 16, 2016, by electronic and/or ordinary mail.

                        S/Carol J. Bethel
                        Case Manager




      1
       Under § 1B1.10(b)(2)(B), if the original sentence was below the guideline range
  “pursuant to a government motion to reflect the defendant’s substantial assistance,” the
  Court may reduce the defendant’s term to a term that is less than the minimum of the
  amended guideline range. Here, however, the government did not file such a motion, and
  thus the exception does not apply.

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